         Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 1 of 10




Raymond D. Powers
ISB # 2737; rdp@powerstolman.com
Portia L. Rauer
ISB # 7233; plr@powerstolman.com
POWERS TOLMAN FARLEY, PLLC
702 West Idaho Street, Suite 700
Boise, ID 83702
Post Office Box 9756
Boise, ID 83707
Telephone: (208) 577-5100
Facsimile: (208) 577-5101
W:\41\41-036\Motions\MTD\MTD-Reply.docx

Attorneys for Defendants Gerald E. Mortimer, M.D.
     and Linda G. McKinnon Mortimer

                             IN THE UNITED STATES DISTRICT

                           COURT FOR THE DISTRICT OF IDAHO

 KELLI ROWLETTE, an individual,
 SALLY ASHBY, an individual, and
 HOWARD FOWLER, an individual,                      Case No. 4:18-CV-00143-DCN

                        Plaintiffs,                 DEFENDANTS GERALD E.
                                                    MORTIMER, M.D. AND LINDA G.
 vs.                                                McKINNON MORTIMER’S REPLY
                                                    MEMORANDUM IN SUPPORT OF
 GERALD E. MORTIMER, M.D., LINDA G.                 MOTION TO DISMISS
 McKINNON MORTIMER, and the marital
 community comprised thereof, and
 OBSTETRICS AND GYNECOLOGY
 ASSOCIATES OF IDAHO FALLS, P.A. an
 Idaho professional corporation,

                        Defendants.


       COME NOW, Defendants Gerald E. Mortimer, M.D. and Linda G. McKinnon Mortimer
(hereinafter “Defendants”) by and through their undersigned counsel of record, Powers Tolman




DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 1
           Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 2 of 10



Farley, PLLC, and respectfully submit this reply memorandum in support of Defendants’
previously filed motion to dismiss Plaintiffs’ Complaint pursuant to Rule 12(c), Fed R. Civ. P.1
                                         I.           INTRODUCTION

         Defendants filed their motion to dismiss claiming that all of Plaintiffs’ causes of action
were barred by either the applicable statute of limitations, precluded by Idaho Code § 6-1012, or
failed to state a claim upon which relief could be granted.
         In response, Plaintiffs filed their opposing memorandum that argues Defendants’ assertions
are largely “preposterous,” “offensive,” and “repugnant.”2 Moreover, Plaintiffs appeal to the facts
of the matter, portraying Dr. Mortimer as a sinister physician with the ambition of secretly
impregnating his patients for some unknown benefit. Although in a proper forum those statements
would be rebutted, the issue is whether Plaintiffs have plead claims upon which relief can be
granted. On review of the applicable law and the facts as Plaintiffs’ have plead them, Plaintiffs
arguments are without merit and the Complaint should be dismissed in its entirety.3
                                                II.     ARGUMENT

A.       The Gravamen Of Plaintiffs’ Complaint Is In Malpractice.

         Plaintiffs rightly admit that when the gravamen of a complaint is in malpractice, all other
claims are precluded.4 Plaintiffs argue they can avoid this result with a piecemeal approach, with
Ashby pursuing a claim of malpractice and Fowler and Rowlette pursuing the remaining claims.
Plaintiffs’ efforts fail for two reasons: first, they cite no authority that allows for the proposed
approach; and second, the gravamen of the action is determined by the substance of the complaint,
not the form it is given. Nerco Minerals Co. v. Morrison Knudsen Corp., 140 Idaho 144, 148, 90
P.3d 894, 898 (2004).
         The gravamen, or material part of the complaint, is determined by identifying the conduct
the complaint is based on. Obb Personenverkehr AG v. Sachs, 136 S.Ct. 390, 392 (2015); Oakes
v. Boise Heart Clinic Physicians, PLLC, 152 Idaho 540, 545. 272 P.3d 512, 517 (2012). In the



1
  Defendants motion to dismiss was originally based on Rule 12(b)(6) of the Fed. R. Civ. P. but was automatically
converted to a motion based on Rule 12(c) as Defendants opted to file their motion after their pleadings.
2
  Memorandum in Opposition to Defendants’ Motion to Dismiss (“Opp Memo.”) (Dkt. 29) p .3-4, filed on August 8,
2018, on file herein.
3
  To the extent certain of Plaintiffs’ arguments are not addressed herein, in the interest of brevity, Dr. Mortimer relies
upon his moving papers and reserves the right to address those issue at oral argument.
4
  Id., p. 17.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 2
         Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 3 of 10



context of malpractice, the court looks to whether the injury complained of arose from a wrongful
act or omission performed as part of professional services. Lapham v. Steward, 137 Idaho 582,
589, 51 P.3d 396, 403 (2002); Hayward v. Valley Vista Care Corp., 136 Idaho 342, 350, 33 P.3d
816, 824 (2001) (holding gravamen is centered in medical malpractice when claim arises from
provision of or failure to provide health care, regardless of how a plaintiff may label their claim).
Given the precluding effect of malpractice claims, some plaintiffs have attempted to characterize
claims against professionals as beyond the scope of the defendant’s professional services, thus
allowing claims other than malpractice, but these attempts have been rejected.
        For example, in Lapham, the plaintiff hired an attorney to create a loan agreement, and
then disburse the loan funds only when authorized. Lapham, 137 Idaho at 584, 51 P.3d at 398.
When the attorney disbursed the funds without prior authorization, the plaintiff alleged damage
and brought a breach of contract claim against his attorney. Id. Plaintiff argued the specific act of
disbursing funds did not require a license, and thus a contract claim could be maintained. Id. at
588, 51 P.3d at 402. The court disagreed, reasoning that when determining whether an action is
based in malpractice, the focus is not on each individual act of a professional, but whether the
wrongful act or omission occurred as part, or in the course of, professional services. Id., at 589, 51
P.3d at 403. Since the disbursement of funds was undeniably part of the attorney executing a loan
agreement, the plaintiff’s only recourse was in malpractice. Id.
        Similarly, in Hough v. Fry, 131 Idaho 230, 953 P.2d 980 (1998), the plaintiff was injured
while receiving physical therapy. To avoid the exacting requirements of Idaho Code § 6-1012, the
plaintiff characterized her claim as ordinary negligence arguing that the specific act she
complained of –her physical therapist negligently assisting her in a balancing exercise– did not
require advanced skill or knowledge. Id., at 233, 953 P.2d at 983. The court refused this
characterization, explaining that the provision of health care is viewed as a single act, not a series
of steps, and moreover, plaintiff’s injury clearly arose while receiving physical therapy, a form of
health care. Id.
        In the present matter, Plaintiffs admit they engaged Dr. Mortimer to receive assistance in
conceiving a child, and that several artificial insemination procedures were performed to achieve
that goal. Moreover, Plaintiffs claimed damages arose from Dr. Mortimer’s wrongful acts during
one of those procedures. Since it cannot be reasonably disputed that artificial insemination is a
form of health care, and the Plaintiffs’ claimed damages occurred during such a procedure, the
gravamen of this matter is in malpractice. Plaintiffs attempts to characterize this action as outside

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 3
                 Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 4 of 10



the scope of malpractice are identical to plaintiffs’ attempts in Lapham and Hough, and Plaintiffs
attempts should meet the same result. Since this action is centered in malpractice, all other claims
are precluded as a matter of law.
B.          Plaintiffs Have Failed To Plead Fraudulent Concealment
            1.       Fraudulent concealment applies only to malpractice claims.
            Plaintiffs claim the fraudulent concealment exception provided by Idaho Code § 5-219(4)
applies to all of their claims, not just malpractice, based on the professional relationship between
the parties. Plaintiffs acknowledged the Idaho Supreme Court stated otherwise in Glaze v.
Deffenbaugh, 144 Idaho 829, 832, 172 P.3d 1104, 1107 (2007) where the court refused to apply
the fraudulent concealment exception to a battery claim, stating that fraudulent concealment
applied to malpractice. Plaintiffs argue that statement in Glaze was erroneous and “not crafted
thoughtfully”, and a more accurate interpretation of the law is that fraudulent concealment applies
to any claim arising from the professional relationship, not just malpractice.5
            Plaintiffs’ error is corrected, however, by the gravamen analysis. Although Idaho Code §
5-219(4) allows for fraudulent concealment when the claim arises from a professional relationship,
Plaintiffs fail to appreciate that when a claim does arise from the professional relationship, the
gravamen of the action is malpractice, precluding all other claims. The court in Glaze understood
the preluding effect of malpractice, as it has been well-litigated in Idaho. So, the court stating that
fraudulent concealment is reserved for matters of malpractice was not the absent-minded statement
Plaintiffs claim it to be, but rather a concise statement of law. Id., 144 Idaho at 832, 172 P.3d at
1107.
            2.       Plaintiffs have failed to plead fraudulent concealment with particularity.
            A claim of fraudulent concealment is not governed by the plausibility standard of Fed. R.
Civ. P. 8(a)(2), but the more scrutinized pleading standard of Rule 9(b). See Theriault v. A.H.
Robins Co., Inc., 108 Idaho 303, 307, 698 P.2d 365, 369 (1985); McCoy v. Lyons, 120 Idaho 765,
779, 820 P.2d 360, 374 (1991); Tingley v. Harrison, 125 Idaho 86, 90, 867 P.2d 960, 964 (1993)
(holding party asserting fraudulent concealment must state circumstances of fraud with
particularity). In pleading fraudulent concealment, the allegation must be accompanied by the
“who, what, when, where, and how” of the fraudulent concealment. Vess v. Ciba-Geigy Corp.




5
    Id., P. 7.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 4
          Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 5 of 10



USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (quoting Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir.
1997). Although the court on a motion to dismiss views all facts in favor of the non-moving party,
the court cannot consider facts beyond the complaint. Cooper v. Pickett, 137 F.3d 616, 622-23 (9th
Cir. 1997).
        As Defendants have already asserted, a person cannot fraudulently conceal that which they
are obligated to conceal.6 To combat that logical conclusion, Plaintiffs argue that their claim of
fraudulent concealment “must be taken at face value,”7 and moreover, Plaintiffs attempt to add
facts to their Complaint by claiming anonymity is a “two-way street.”8 Specifically, Plaintiffs
claim their identity was to remain anonymous to the sperm donor, an allegation absent from
Plaintiffs’ Complaint.
        However, even if Dr. Mortimer was required to ensure Plaintiffs’ anonymity, Dr.
Mortimer’s failing to adhere to that provision is a breach of that agreement, not fraudulent
concealment. Plaintiffs do not allege in their Complaint, or even in the added verbiage of their
opposing memorandum, that Dr. Mortimer represented to the Plaintiffs they were anonymous as
to the donor. This is problematic given the heightened pleading standard of fraudulent
concealment.
        The only instance in which Plaintiffs claim Dr. Mortimer offered a representation is Dr.
Mortimer allegedly representing to Plaintiffs that he had semen from a donor that matched
Plaintiffs’ specified criteria.9 Critically, that representation was made before Ashby’s first
insemination procedure in June 1980.10 That procedure ultimately failed, and several more were
attempted in July and August. These additional procedures required Fowler to produce additional
semen on multiple occasions. Since additional semen was required of Fowler, Plaintiffs would
have known additional semen would be needed from a sperm donor.11 However, Plaintiffs do not
allege Dr. Mortimer made any additional representations prior to the July and August procedures
that he had obtained additional semen from the donor he had previously identified. Notably,
Plaintiffs do not allege they inquired into whether Dr. Mortimer obtained additional semen from




6
  Defendants’ Memorandum in Support of Motion to Dismiss p. 4, on file herein.
7
  Opp Memo p. 8.
8
  Id. ¶ 3.
9
  Complaint and Demand for Jury Trial (“Comp.) (Dkt. 1), filed March 30, 2018, ¶ 14, on file herein.
10
   Id. ¶ 18.
11
   Id. ¶ 15.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 5
          Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 6 of 10



the donor he specified in June. Such an inquiry would have been reasonable given Fowler’s
multiple donations and Plaintiffs’ highly particular donor requirements.
        Importantly, Ashby conceived in August 1980 as a direct result of one of the August
procedures. Since conception occurred as a result of one of the August insemination procedures,
whatever damages Plaintiffs now allege arose during that procedure. However, as stated above,
Plaintiffs do not allege that Dr. Mortimer made representations regarding the semen used in that
(or any) August procedure. Given the absence of any allegations of misrepresentation of Dr.
Mortimer pertaining to the ultimately successful August procedure, coupled with the fact Dr.
Mortimer was obligated to keep the donor anonymous, Plaintiffs have failed to plead fraudulent
concealment by any standard, much less the heightened standard required by Rule 9(b).
Consequently, Plaintiffs’ malpractice claim is not tolled by the fraudulent concealment exception
of Idaho Code § 5-219(4) and is therefore time barred.
C.      Equitable Estoppel Is Not Applicable Because Plaintiffs Have Not Been Prejudiced.
        Although equitable estoppel remains a remedy in Idaho, Plaintiffs can only assert equitable
estoppel when defendants make a false representation or concealment that plaintiffs rely upon to
their prejudice. Twin Falls Clinic & Hospital Bldg. Corp. v. Hamill, 103 Idaho 19, 22, 644 P.2d
341, 344 (1982); J.R. Simplot Co. v. Chemetics Intern., Inc., 126 Idaho 532, 534, 887 P.2d 802,
808 (1963).12
        As explained above, Dr. Mortimer was obligated to conceal the donor’s identity, and
moreover, did not make a false representation regarding the ultimately successful August
procedure resulting in Ashby’s pregnancy. The absence of facts to the contrary results in Plaintiffs
failing to establish the first element of equitable estoppel. However, even if Plaintiffs established
a false representation was made, Plaintiffs have failed to plead facts showing they suffered
prejudice because of any act or representation made by Dr. Mortimer.
        To establish prejudice, plaintiffs must prove they relied on a defendant’s false
representation or concealment to such a degree they changed their conduct based on that
misrepresentation. Willig v. State, Dept. of Health & Welfare, 127 Idaho 259, 261, 899 P.2d 969,
971 (1995). Moreover, the change of conduct must have caused plaintiff material and substantial



12
  Although presently separate claims in Idaho, equitable estoppel and fraudulent concealment are considered one and
the same in many jurisdictions. See Lukovsky v. City and County of San Francisco, 535 F.3d 1044, 1051 (9th Cir.
2008)(Equitable estoppel is sometimes referred to as fraudulent concealment); Borderlon v. Peck, 661 S.W.2d 907,
908 (Tex. 1983)(fraudulent concealment is based on equitable estoppel).

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 6
         Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 7 of 10



injury. Id.; Ladd Const. Co. v. Insurance Co. of North America, 391 N.E. 568, 573 (Ill. Ct. App.
1979); Boesiger v. Freer, 85 Idaho 551, 561, 381 P.2d 802, 808 (1963). In the present matter,
Plaintiffs have failed to identify how any representation by Dr. Mortimer caused Plaintiffs to alter
their conduct, and certainly not such a change that resulted in any material or substantial harm.
        This is made clear by the Plaintiffs’ inability to articulate their damages with any
specificity. Plaintiffs make vague assertions their claim did not accrue until they discovered Dr.
Mortimer’s “violation of their trust.”13 Similarly, Plaintiffs claim they relied on Dr. Mortimer
which caused them to suffer the “damages they now complaint of,” without identifying what those
damages actually are.14 This vague illusion to damages is also contained in the Complaint where
Plaintiffs claim Dr. Mortimer breached the standard of care causing Plaintiffs to “suffer
damages.”15 A detailed review of Plaintiffs’ Complaint and subsequent briefing reveals Plaintiffs’
damages remain unidentified, and are the subject of speculation.
        Ashby and Fowler have not alleged that if they had promptly discovered Dr. Mortimer was
Rowlette’s biological father they would have aborted the pregnancy or opted for adoption. Nor is
there any allegation that Rowlette was a burden or that Ashby and Fowler now regret her existence.
Absent these allegations, Plaintiffs have failed to show how any misrepresentation by Dr.
Mortimer caused them to change their conduct to any extent, nor have they specified how Dr.
Mortimer caused them substantial or material harm. Absent these facts illustrating prejudice,
equitable estoppel is not applicable in this matter.
D.      Plaintiffs’ Claims Of Emotional Distress Should Be Dismissed As They Are Time
        Barred And Fail To State Any Physical Injury Arising from Their Emotional Distress.

        1.      The doctrine of continuing torts is not applicable.

        Plaintiffs argue the doctrine of continuing torts allows their claims of emotional distress to
avoid the applicable statute of limitations because Dr. Mortimer’s concealment is the tortious
conduct that lead to their emotional distress.16 In Glaze v. Deffenbaugh, the plaintiffs attempted an
identical claim, arguing that their father’s act of concealing a battery against them 25 years prior
amounted to emotional distress. The court rejected that claim, stating plainly there was “no




13
   Opp Memo., pp. 4-5.
14
   Id. p. 15.
15
   Comp., ¶ 30.
16
   Opp Memo., p. 10.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 7
              Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 8 of 10



authority for the proposition that silence or concealment under these circumstances constitutes a
wrongful act giving rise to a continuing claim for intentional infliction of emotional distress.”
Glaze, 144 Idaho at 833, 172 P.3d at 1108. Plaintiffs’ attempts to differentiate their continuing tort
claim from the plaintiffs’ claim in Glaze in disingenuous given the court’s patently clear rejection
of the idea that concealment or silence could be considered the tortious conduct resulting in
emotional distress, the exact argument Plaintiffs made here. Given the clear ruling offered in
Glaze, Plaintiffs’ argument of continuing tort should fail.
            Plaintiffs repeatedly attempt to recast arguments made in Glaze for use in this matter,
specifically Plaintiffs attempt to extend the applicability of fraudulent concealment and the use of
continuing tort to argue silence or concealment may result in emotional distress. It must be noted
that plaintiffs’ counsel in Glaze was sanctioned for putting forth such implausible claims. The
court acknowledged the plaintiffs’ “tragic plight” in referring to the sexual battery endured at the
hands of the plaintiffs’ father but explained that tragic facts did not grant plaintiffs’ license to put
forth groundless claims. Id., at 833, 172 P.3d at 1108.
            Here, like the plaintiffs in Glaze, Plaintiffs have put forth implausible legal theories, and
do so without the same “tragic plight.” Plaintiffs were aware of Glaze, and unwisely followed the
strategy of plaintiffs that lead to dismissal and sanctions. Since Plaintiffs knowingly put forth
nearly identical legal theories, Plaintiffs should be met with the same consequences.
            2.     Plaintiffs fail to claim any physical injury arising from their emotional distress.
            In Defendants’ moving papers, they cited to the Idaho Supreme Court ruling in Hopper v.
Swinnerton, 155 Idaho 801, 810, 317 P.3d 698, 707 (2013) which established that all claims of
emotional distress, including intentional infliction of emotional distress (“IIED”), must include
some physical injury resulting from the emotional distress. Contrary to the Hopper ruling,
Plaintiffs argue claims for IIED do not require physical injury arising from the emotional distress.17
To support their position, Plaintiffs cite Alderson v. Bonner, 142 Idaho 733, 741, 132 P.3d 1261
(Ct. App. 2006), an Idaho Court of Appeals case that clearly precedes Hopper. Plaintiffs offer no
explanation as to why the Hopper case is not controlling in this matter and instead have ignored
its precedent. Since Hopper is controlling in this matter, and Plaintiffs have failed to plead a




17
     Id. p. 18.

DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 8
         Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 9 of 10



physical injury required of a claim of IIED, Plaintiffs’ emotional distress claims should be
dismissed.
       Notably, the emotional distress Rowlette suffered was not the discovery that Dr. Mortimer
was her biological father, but her discovery that Fowler was not her biological father. Rowlette
would have suffered upon such a discovery regardless of the name identified on the DNA match
at issue. Rowlette’s understandable shock was caused by her parent’s concealment, not Dr.
Mortimer’s.
E.     Informed Consent Only Requires Disclosure of Risks.
       Plaintiffs claim the law of informed consent as it existed in 1980 required the disclosure of
“material aspects” of a procedure, to which Plaintiffs cite LePelley v. Grefenson, 101 Idaho 422,
614 P.2d 962 (1980) as support. However, the court in LePelley recognized a claim of informed
consent was a matter of first impression in Idaho, and adopted the rule articulated by the California
Supreme Court in Cobbs v. Grant, 502 P.2d 1, 7 (Cal. 1972) which imposed upon physicians the
duty to disclose all risks and inherent dangers related to proposed therapies. LePelley, 101 Idaho
at 429, 614 P.2d at 969 (citing Cobbs, 502 P.2d at 10); Sherwood v. Carter, 119 Idaho 246, 251,
805 P.2d 452, 457 (1990)(citing LePelley for the proposition that the doctrine of informed consent
is the general principle that a physician has a duty to disclose risks of a proposed treatment).
       Here, Plaintiffs have not alleged any failure to disclose risks pertaining to the artificial
insemination procedures performed by Dr. Mortimer. Any failure to disclose the identity of a
sperm donor who was to remain anonymous is not akin to the failure to disclose a risk. Absent any
allegation of an undisclosed risk, Plaintiffs’ claim of informed consent requires dismissal as a
matter of law, whether under current law or as it existed in 1980.
F.     Leave to Amend Should Not Be Granted.
       Plaintiffs should not be granted leave to amend their Complaint to cure the deficiencies at
issue. Leave to amend is improper if it is clear amendment cannot save the complaint. Sonoma
County Ass’n of Retired Employees v. Sonoma County, 708 F.3d 1109, 1118 (9th Cir. 2013). Here,
Plaintiffs’ claims warrant dismissal because they have been insufficiently plead. However, even if
the required facts were added to the Complaint, their claims are still either barred by the applicable
statute of limitations or precluded by Idaho Code § 6-1012. Consequently, leave to amend is
improper since the amendments are futile.




DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 9
        Case 4:18-cv-00143-DCN Document 30 Filed 08/22/18 Page 10 of 10



                                      III.   CONCLUSION
       All of Plaintiffs’ claims are barred by the applicable statute of limitations, precluded by
Idaho Code § 6-1012, and have been insufficiently plead. Therefore, Plaintiffs’ Complaint and
Demand for Jury Trial should be dismissed in its entirety.
       DATED this 22nd day of August, 2018.

                                              POWERS TOLMAN FARLEY, PLLC



                                              By /s/ Portia L. Rauer                     l
                                                 Raymond D. Powers - Of the Firm
                                                 Portia L. Rauer - Of the Firm
                                                 Attorneys for Defendants Gerald E. Mortimer,
                                                 M.D. and Linda G. McKinnon Mortimer



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 22nd day of August, 2018, I caused to be served a true
copy of the foregoing DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G.
McKINNON MORTIMER’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO
DISMISS, electronically through the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

 Jillian A. Harlington, jharlington@walkerheye.com
 Matthew M. Purcell, mp@purcellfamilylaw.com
 Shea C. Meehan, smeehan@walkerheye.com
 Attorneys for Plaintiffs

 J. Michael Wheiler, wheiler@thwlaw.com
 Richard R. Friess, friess@thwlaw.com
 Attorneys for OB-GYN Associates



                                              /s/ Portia L. Rauer                               ;
                                              Raymond D. Powers
                                              Portia L. Rauer




DEFENDANTS GERALD E. MORTIMER, M.D. AND LINDA G. McKINNON MORTIMER’S REPLY
MEMORANDUM IN SUPPORT OF MOTION TO DISMISS - 10
